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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. Cr. 1:05-cr-00112-AWI-1

12                     Plaintiff,                       UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE FOR FILING RESPONSE;
13          v.                                          ORDER

14   CERVANDO ALVAREZ,

15                     Defendant.                       Judge: Honorable ANTHONY W. ISHII

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s March 30, 2015 order be
18   extended to May 29, 2015. The undersigned is investigating Mr. Alavarez’ case. Counsel for the
19   government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated that she has no
20   objection.
21   Dated: May 1, 2015
                                                         Respectfully submitted,
22
                                                         HEATHER E. WILLIAMS
23                                                       Federal Defender
24
                                                         /s/ David M. Porter
25                                                       DAVID M. PORTER
                                                         Assistant Federal Defender
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       Case 1:05-cr-00112-DAD Document 127 Filed 05/04/15 Page 2 of 2


 1
                                                 ORDER
 2
            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of March 23, 2015, may be filed on or before May 29, 2015.
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 5
     IT IS SO ORDERED.
 6
     Dated: May 1, 2015
 7
                                                SENIOR DISTRICT JUDGE
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